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                                   NORTHERN DISTRICT OF CALIFORNIA
11
      INNOVATION LAW LAB, et al.,                       CASE NO.: 3:19-CV-00807-RS
12
                     Plaintiffs,                        JOINT STATUS REPORT AND REQUEST
13                                                      TO CONTINUE HOLDING ORDER TO
                                                        SHOW CAUSE IN ABEYANCE
14                   v.

15    ALEJANDRO MAYORKAS, et al.,

16                   Defendants.
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       JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO SHOW
                                CAUSE IN ABEYANCE
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       JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO SHOW
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     PARTIES’ JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER
 1                         TO SHOW CAUSE IN ABEYANCE
 2
            Plaintiffs Innovation Law Lab, et al., and Defendants Alejandro Mayorkas, et al., submit this
 3
     status report, and respectfully request that the Court continue to temporarily hold in abeyance the
 4
     Order to Show Cause issued by this Court on August 6, 2021. See ECF #131. Doing so will give the
 5

 6   parties time to continue to meet and confer regarding outstanding issues presented by the case.

 7          The Order to Show Cause directed Plaintiffs to respond, by August 16, 2021, as to why the

 8   instant case should not be dismissed as moot. The parties jointly moved to temporarily hold that
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     deadline in abeyance to allow the parties to explore the possibility of resolving this case without
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     further litigation. See ECF #132 (motion). As explained in that motion, Plaintiffs communicated to
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     Defendants that they believe seven of the individual plaintiffs in this lawsuit remain impacted by the
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     Migrant Protection Protocols (“MPP”). See ECF #132 at 2. Two are in ongoing removal proceedings
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14   in this country, seeking review before the Board of Immigration Appeals of removal orders they

15   received after being placed in MPP; three are presently outside the country pursuant to removal
16   orders they received after being placed in MPP; and two are outside the country after having
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     withdrawn their applications for admission while under MPP. Id. at 2-3. The Court granted the
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     parties’ joint motion and instructed the parties to submit a joint statement by August 30, 2021. See
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     ECF #133 (Order).
20
            Thereafter, a federal district court in the Northern District of Texas held on August 13, 2021,
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22   that Secretary Mayorkas’ June 1, 2021 rescission of MPP was illegal, vacated the rescission, and

23   issued a nationwide injunction. See Texas v. Biden, No. 2:21-cv-0067, 2021 WL 3603341 (N.D.
24   Tex. Aug 13, 2021), stay denied, Texas v. Biden No. 21-10806 (5th Cir. Aug. 19, 2021), stay denied,
25
     Biden v. Texas, No. 21-A-21 (S. Ct. Aug. 24, 2021). Pursuant to the injunction, the Department of
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     Homeland Security must “enforce and implement MPP in good faith.” See Fifth Circuit Order, No.
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     21-10806 (August 19, 2021) (internal quotation marks and citations removed, emphasis in original).
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       JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO SHOW
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             The parties filed a joint status report and request to continue to hold the Order to Show Cause
 1

 2    deadline in abeyance. See ECF #135 (joint status report and request to hold deadline in abeyance).

 3    The Court granted the parties’ request, and ordered an additional status report to be filed on

 4    September 13, 2021. See ECF #136 (order).
 5           The parties currently continue to meet and confer. An order continuing to hold the Order to
 6
      Show Cause in abeyance is therefore warranted. Accordingly, the parties request that the Court
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      continue the temporary abeyance of the briefing deadline for the Order to Show Cause. The parties
 8
      propose to submit another joint statement two weeks from today, on September 27, 2021.
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10

11     Dated: September 13, 2021                           Respectfully Submitted,

12     /s/ Judy Rabinovitz                                 /s/ Erez Reuveni
       Judy Rabinovitz*                                    Erez Reuveni
13     Michael Tan*                                        Assistant Director
       Omar Jadwat*                                        Brian M. Boynton
14     Lee Gelernt*                                        Acting Assistant Attorney General
       Anand Balakrishnan*                                 William C. Peachey
15     Daniel Galindo (SBN 292854)                         Director
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        JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO SHOW
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                                       CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on September 13, 2021, I electronically filed the foregoing with the

 3   Clerk of Court by using the District Court CM/ECF system. A true and correct copy of this joint

 4   status report and request to continue holding order to show cause in abeyance has been served via
 5   the Court’s CM/ECF system on all counsel of record.
 6
                                                                          /s/ Judy Rabinovitz
 7                                                                       Judy Rabinovitz

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       JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO SHOW
                                CAUSE IN ABEYANCE
                              CASE NO. 3:19-cv-00807-RS
